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                                                  Judge Benjamin H. Settle
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4                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WASHINGTON
5                               AT TACOMA
6
                                 ) Case No: CR14-5159BHS
7    UNITED STATES OF AMERICA,   )
                                 ) ORDER CONTINUING MOTIONS
8              Plaintiff,        ) CUT-OFF DATE
                                 )
9         vs.                    )
                                 )
10   ALFREDO VALDOVINOS-DIAZ, et )
                                 )
11   al,                         )
12                 Defendant.
13

14
            THE COURT HAVING considered the file and the contents therein,
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16          IT IS HEREBY ORDERED that the Motions Cut-off Date is continued for

17   two weeks from July 30, 2014 to August 13, 2014.

18
            DATED this 4th day of August, 2014
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                                                 BENJAMIN H. SETTLE
23                                               United States District Judge

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     ORDER - 1                                    The Law Office of Thomas E. Weaver
                                                            P.O. Box 1056
                                                         Bremerton WA 98337
                                                            (360) 792-9345
